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Recipients of Notice of Electronic Filing:
ust         United States Trustee          ustpregion04.ct.ecf@usdoj.gov
tr          Thomas Fluharty           thfaal@aol.com
aty         Anthony J Majestro           amajestro@powellmajestro.com
aty         Bruce Michael Jacobs            bjacobs@spilmanlaw.com
aty         Gary O. Kinder          gary.o.kinder@usdoj.gov
aty         Joe M. Supple          info@supplelawoffice.com
aty         Michael R. Proctor          mproctor@bowlesrice.com
aty         Morgan McKee             morgan.mckee@usdoj.gov
aty         Sarah C. Ellis        sarah.ellis@steptoe−johnson.com
aty         Spencer D. Elliott         selliott@lewisgianola.com
aty         Steven L. Thomas           sthomas@kaycasto.com
aty         Thomas Fluharty           thfaal@aol.com
                                                                                                                  TOTAL: 12

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Alderson Broaddus University Inc.         P O Box 2035        Philippi, WV 26416
cr          Teresa Vanalsburg        c/o Spencer D. Elliott       Lewis Gianola PLLC         300 Summers Street, Suite
            700       Charleston, WV 25301
acc         Brown, Edwards & Company, L.L.P            3906 Electric Road        Roanoke, VA 24018
db          Alderson−Broaddus Endowment Corporation            101 College Hill Dr.        Philippi, WV 26416
cr          United States Department of Agriculture, Farm Service Agency          1550 Earl L. Core Rd        Suite
            102       Morgantown, WV 26505−5920
cr          United States Health Resources and Services Administration         5600 Fishers Lane       Rockville, MD 20857
cr          Samantha Croston         c/o Spencer D. Elliott      Lewis Gianola PLLC          300 Summers Street, Suite
            700       Charleston, WV 25301
cr          DACK Investments, LLC           c/o Michael Proctor / Bowles Rice LLP         1800 Main St, Ste
            200       Canonsburg, PA 15317
acc         Kelli Cobb       Smith, Elliott & Kearns & Company, LLC            19405 Emerald Square         Suite
            1400        Hagerstown, MD 21742
cr          Christopher Brian Knotts        Post Office Box 455       Anmoore, WV 26323−0455
aty         Jami B. Nimeroff        Brown McGarry Nimeroff LLC            Two Penn Center, Suite 610         1500 John F.
            Kennedy Blvd         Philadelphia, PA 19102
            Mike Ross        345 Morton Avenue           Buckhannon, WV 26201
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